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  Mr. Cabral interest on his credit card charges is not factually plausible and fails

  under Rule 12(b)(6).

        Mr. Cabral's breach of fiduciary duty claim also fails. First, without a plausible

  breach of contract claim, Mr. Cabral cannot have a plausible claim for breach of a

  fiduciary duty. And banks do not have a fiduciary duty to their debtors and the

  agreement does not set forth any intention that Mr. Cabral as debtor and Defendants

  as creditors have a relationship beyond that. See Fraioli v. Lemcke, 328 F. Supp. 2d

  250, 267 (D.R.I. 2004) ("the existence of a fiduciary relationship is limited to the

  unusual case where the relationship goes far beyond that found in an ordinary

  business transaction."). Therefore, the Court finds that Mr. Cabral's breach of

 fiduciary claim fails.

        Mr. Cabral brings two additional claims under federal statutes, 12 U.S.C.

  § 504-Civil Money Penalties and 18 U.S.C. § 1348-Securities and Commodities

 Fraud. Neither statute includes a private right of action so Mr. Cabral cannot state

 a claim for relief. The Court finds that both claims fail under Rule 12(b)(6).

        The Court GRANTS Defendants' Motion to Dismiss Mr. Cabral's Complaint in

 its entirety. ECF No. 10.

 IT IS SO ORDftRED.




 John J. McConnell, Jr.
 Chief United States District Judge

 June 20, 2024




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